Case 1:18-cv-00571-TWP-MPB Document 5 Filed 03/16/18 Page 1 of 2 PageID #: 34



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

JARED S. FOGLE,                                      )
                                                     )
                              Petitioner,            )
                                                     )
                         v.                          )       No. 1:18-cv-00571-TWP-MPB
                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )
                              Respondent.            )

               Order Denying Motion to Take Judicial Notice of Facts of Record

       Petitioner Jared S. Fogle’s “motion to take judicial notice of facts of record,” dkt. [4], is

denied as an improper use of Rule 201 of the Federal Rules of Evidence. The petitioner, however,

may cite to case law, statutes, or other evidence in his brief in support of his amended motion to

vacate, set aside, or correct sentence. The Court shall determine the relevance of any such alleged

authority at the appropriate time.

       The Court reminds Mr. Fogle that he has through April 6, 2018 in which to either

supplement his motion filed on February 12, 2018, (docketed on February 26, 2018), with a

complete statement of the claims and grounds on which he could and does challenge his conviction

and/or sentence, or withdraw such motion insofar as it could be thought to seek relief authorized

by 28 U.S.C. § 2255. He may, in the alternative, notify the Court that the filing of February 12,

2018, does constitute a complete statement of the claims and grounds on which he could and does

challenge his conviction and/or sentence. If he does not take one of these steps by April 6, 2018,

the motion will be treated as a § 2255 motion and the case will proceed.

       IT IS SO ORDERED.

       Date:    3/16/2018
Case 1:18-cv-00571-TWP-MPB Document 5 Filed 03/16/18 Page 2 of 2 PageID #: 35




Distribution:

JARED S. FOGLE
12919-028
ENGLEWOOD - FCI
ENGLEWOOD FEDERAL CORRECTIONAL INSTITUTION
Inmate Mail/Parcels
9595 WEST QUINCY AVENUE
LITTLETON, CO 80123
